Case 1:16-cv-02269-TWP-MJD Document 134 Filed 02/13/18 Page 1 of 2 PageID #: 3503



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

  WESTFIELD INSURANCE COMPANY,                        )
             Plaintiff,                               )
                                                      )
         v.                                           )       No. 1:16-cv-02269-TWP-MJD
                                                      )
  BELL AQUACULTURE, LLC &                             )
  TCFI BELL SPE III, LLC,                             )
              Defendants/Third Party Plaintiffs.      )
                                                      )
         v.                                           )
                                                      )
  EARLY, CASSIDY & SCHILLING, INC.                    )
            Third Party Defendant.                    )
                                                      )


                    ORDER ON JOINT MOTION TO EXTEND CERTAIN
                          CASE MANAGEMENT DEADLINES


         This matter comes before the Court on the parties’ Joint Motion to Extend Certain Case

  Management Deadlines. [Dkt. 133.] The Court, being duly advised, hereby GRANTS IN

  PART and DENIES IN PART the motion, and the approved Case Management Plan as

  amended [Dkts. 41, 93, 103, & 129] is hereby amended as follows:

         II. Synopsis of Case

         F. On or before March 2, 2018, and consistent with the certification provisions of
         Fed. R. Civ. P. 11(b), the party with the burden of proof shall file a statement of
         the claims or defenses it intends to prove at trial, stating specifically the legal
         theories upon which the claims or defenses are based.

         III. Pretrial Pleadings and Disclosures

         F. Any party with the burden of proof on a claim or defense shall disclose the
         name, address, and vita of all expert witnesses with regard to such claim or
         defense, and shall serve the report required by Fed. R. Civ. P. 26(a)(2) on or
         before May 18, 2018. All parties responding to such claims or defenses shall
         disclose the name, address, and vita of all responsive expert witnesses, and shall
         serve the report required by Fed. R. Civ. P. 26(a)(2) on or before June 18, 2018.
Case 1:16-cv-02269-TWP-MJD Document 134 Filed 02/13/18 Page 2 of 2 PageID #: 3504




         H. Any party who wishes to limit or preclude expert testimony at trial shall file
         any such objections on or before August 24, 2018. Any party who wishes to
         preclude expert witness testimony at the summary judgment stage shall file any
         such objections with their responsive brief within the briefing schedule
         established by Local Rule 56-1.

         I. All parties shall file and serve their final witness and exhibit lists on or before
         June 18, 2018. This list should reflect the specific potential witnesses the party
         may call at trial. It is not sufficient for a party to simply incorporate by reference
         “any witness listed in discovery” or such general statements. The list of final
         witnesses shall include a brief synopsis of the expected testimony.

  All other requirements of the approved Case Management Plan as amended [Dkts. 41, 93, 103, &

  129] remain in effect.

        No further enlargement of the case management deadlines is anticipated.

        SO ORDERED.



        Dated: 12 FEB 2018




  Distribution:

  Service will be made electronically
  on all ECF-registered counsel of record
  via email generated by the Court’s ECF system.
